                                                                                              Motion GRANTED.
                                                                                              Plea hearing RESET
                       IN THE UNITED STATES DISTRICT COURT                                    for 8/23/12 at 2:30 pm

                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                      NASHVILLE DIVISION


   UNITED STATES OF AMERICA                             )
                                                        )
   vs.                                                  )       NO. 3:10-215
                                                        )       JUDGE TRAUGER
   ANGELA MARIE GARCIA                                  )

                _________________________________________________

              MOTION TO CONTINUE CHANGE OF PLEA HEARING
               _________________________________________________


         Defendant ANGELA MARIE GARCIA, through counsel, moves the Court to continue,

for two weeks, the plea hearing which is now set for August 9, 2012 at 3:00 p.m. (ECF

Document 335).

         Assistant United States Attorney Blanche Cook and defense counsel Ken Quillen need

more time to iron out the factual basis in the plea agreement. Assistant United States Attorney

Blanche Cook does not oppose this motion.

                                                Respectfully submitted,

                                                s/ Kenneth Quillen
                                                Attorney for Angela Garcia
                                                95 White Bridge Rd., Suite 208
                                                Nashville, TN 37205
                                                (615) 356-1580

                                     CERTIFICATE OF SERVICE

       I hereby certify that a true and exact copy of the foregoing has been emailed to Ms. Blanche Cook,
   Assistant United States Attorneys, 110 Ninth Avenue South, Nashville, TN 37203-3870, on this 6th day of
   August, 2012.

                                                s/ Kenneth D. Quillen



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